
The People of the State of New York, Respondent, 
againstHoward Harayama, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Kate Paek, J. at plea; David Frey, J. at sentencing), rendered November 16, 2017, convicting him, upon a plea of guilty, of attempted surveillance in the second degree, and sentencing him to two years' probation.




Per Curiam.
Judgment of conviction (Kate Paek, J. at plea; David Frey, J. at sentencing), rendered November 16, 2017, affirmed.
Defendant seeks an "interest of justice" reduction in the probationary period imposed in accordance with his plea agreement. "Ordinarily ... where defendant effects a plea bargain and receives the precise sentence that was promised, he should not later be heard to complain that he received what he bargained for" (People v Fair, 33 AD3d 558, 558 [2006], lv denied 8 NY3d 945 [2007], quoting People v Chambers, 123 AD2d 270, 270 [1986]). Given the serious nature of the charged conduct and the absence of extraordinary circumstances, it cannot be said that the sentence of two years' probation was either harsh or excessive (see People v Higgins, 19 AD3d 877 [2005], lv denied 5 NY3d 828 [2005]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: December 14, 2018










